
UYONS, President,
delivered the resolution of the court, that the county court erred in admitting the transcript of the record, instead of inspecting the original record itself ; and, therefore, that the district court should have sent the cause back to the county court, with a direction to try it by the original record, and not by a transcript.
The following is the entry on the order book :
*1039“ The court is of opinion, that there is no error in the said county court’s permitting' an amendment of the declaration as stated in the bill of exceptions, and proceeding to the trial of the issue joined, the parties having mutually consented that the trial should be proceeded in immediately ; but that the judgment of the said county court is ei'ro-neous in this, that, on the trial of the issue of “ No such record,” that court inspected only a transcript of the record in the declaration mentioned, instead of the original records of the said court, as the said court ought to have done ; and therefore that there is no error in the judgment of the district court reversing that judgment; but this court is also of opinion, that the said district court erred in not remanding the suit to the county court, there to be tried by inspection of *the original records of that court : Wherefore it is considered, that the judgment of the district court be reversed and annulled, and that the appellant recover against the appellee his costs by him expended in the prosecution of his appeal aforesaid here, to be levied of the goods and chattels of the decedent in the hands of the appellee to be administered : And this court proceeding to give such judgment as the said district court ought to have given, it is further considered, that the judgment aforesaid of the said county court be also reversed and annulled, and that the appellee recover against the appellant the costs expended by his testator in the prosecution of his appeal in the said district court: And it is ordered, that the cause be remanded, by the said district court, to the said county court, there to be tried by the inspection of the original records of that court.”
